  Case 1:18-cv-00563-GMS Document 9 Filed 07/05/18 Page 1 of 2 PageID #: 89



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE



SYMBOLOGY INNOVATIONS LLC,

     Plaintiff,

     v.                                                    C.A. NO. 1:18-cv-00563-GMS

3M COMPANY d/b/a FILTRETRE,                                JURY TRIAL DEMANDED

     Defendant.


                        NOTICE OF DISMISSAL WITH PREJUDICE


             Plaintiff Symbology Innovations LLC, pursuant to Fed. R. Civ. P. 41 (a), hereby

provides notice that it dismisses all of its claims in this action WITH PREJUDICE. Each party

shall bear its own costs, expenses, and attorneys' fees.

Dated: July 5th, 2018                          Respectfully Submitted,



                                               /s/ Stamatios Stamoulis
                                               Stamatios Stamoulis
                                               Stamatios Stamoulis #4606
                                               STAMOULIS & WEINBLATT LLC
                                               stamoulis@swdelaw.com
                                               Richard C. Weinblatt #5080
                                               weinblatt@swdelaw.com
                                               Two Fox Point Centre
                                               6 Denny Road, Suite 307
                                               Wilmington, DE 19809
                                               Telephone: (302) 999-1540




                                               /s/ Eugenio J. Torres-Oyola
                                               Eugenio J. Torres-Oyola
                                               (Pro Hac Vice Application Pending)
  Case 1:18-cv-00563-GMS Document 9 Filed 07/05/18 Page 2 of 2 PageID #: 90




                                            /s/ Jean G. Vidal Font
                                            Jean G. Vidal Font
                                            (Pro Hac Vice Application Pending)

                                            Ferraiuoli LLC
                                            221 Plaza, 5th Floor
                                            221 Ponce de León Avenue
                                            San Juan, PR 00917
                                            Telephone: (787) 766-7000
                                            Facsimile: (787) 766-7001
                                            Email: etorres@ferraiuoli.com
                                            Email: jvidal@ferraiuoli.com

                                            ATTORNEYS FOR PLAINTIFF
                                            SYMBOLOGY INNOVATIONS LLC




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on July 5th, 2018, to all counsel of record who are deemed to have

consented to electronic service via the Court's CM/ECF system per Local Rule CV-5(a)(3).



                                                   /s/Stamatios Stamoulis
                                                   Stamatios Stamoulis #4606


                     IT IS SO ORDERED this ____ day of ______ 2018.




                                           _______________________________________
                                           UNITED STATES DISTRICT COURT JUDGE



                                              2
